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                   EXHIBIT A
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                                      UNITED STATES DISTRICT COURT

                                      EASTERN DISTRICT OF VIRGINIA



        THE TRUSTEES OF COLUMBIA
        UNIVERSITY IN THE CITY OF
        NEW YORK                                                       Civil Action No. 3:13cv808

                        Plaintiff,
                                                                       SUPERSEDEAS BOND
        vs.

        GEN DIGITAL INC.,
        f/k/a SYMANTEC CORPORATION,
        f/k/a NORTONLIFELOCK, INC.,

                       Defendant.



                                             SUPERSEDEAS BOND


WHEREAS, Defendants, Gen Digital Inc. f/k/a NortonLifeLock, Inc., have appealed from a judgment entered
in the above entitled action in The United States District Court for the Eastern District of Virginia, in favor of the
above named Plaintiffs on September 30, 2023, in the amount of Four Hundred Eighty One Million Two
Hundred Ninety Three Thousand Ninety Dollars ($481,293,090.00); and

WHEREAS, Defendants desire to give this Supersedeas Bond pursuant to Fed. R. Civ. Pro. 62(d);

NOW THEREFORE, in consideration of the premises and of such appeal, ZURICH AMERICAN
INSURANCE COMPANY, and LIBERTY MUTUAL INSURANCE COMPANY, and NATIONWIDE
MUTUAL INSURANCE COMPANY, and ATLANTIC SPECIALITY INSURANCE COMPANY, and
HARCO NATIONAL INSURANCE COMPANY, as surety, (each a "Surety" and collectively "Sureties") are
held and firmly bound unto Plaintiff, The Trustees of Columbia University in the City of New York. as
Obligee, in the total aggregate penal sum of Six Hundred Million Dollars ($600,000,000.00), lawful money of
the United States for which payment well and truly to be made, we bind ourselves and our heirs, executors,
administrators, successors and assigns, severally by Sureties (subject to the individual Surety limits below).

THE CONDITION OF THIS OBLIGATION is that if Defendant shall prosecute its appeal to effect and shall
satisfy the judgment in full, together with costs, interest and damages for delay if the appeal is finally dismissed
or the judgment is affirmed or shall satisfy in full such judgment as modified together with such costs, interests,
and damages as the Court of Appeals may adjudge and award, this obligation shall be void; otherwise it shall
remain in full service and effect;



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       The maximum amount of liability for each Surety shall be limited to the following amounts:

    ZURICH AMERICAN INSURANCE COMPANY, a New York Corporation for Two Hundred Million
    Dollars ($200,000,000.00) (33.34%)             '

   LIBERTY MUTUAL INSURANCE COMPANY, a Massachusetts Corporation for One Hundred Fifty Five
   Million Dollars ($155,000,000.00) (25.83%)

   NATIONWIDE MUTUAL INSURANCE COMPANY, an Ohio Corporation for One Hundred Twenty
   Million Dollars ($120,000,000.00) (20.00%)

   ATLANTIC SPECIALTY INSURANCE COMPANY, a New York Corporation for Seventy Five Million
   Dollars ($75,000,000.00) (12.50%)

   HARCO NATIONAL INSURANCE COMPANY, an Illinois Corporation for Fifty Million Dollars
   ($50,000,000.00) (8.33%)

   It is expressly provided that the obligation of each Surety shall be several and not joint, and no Surety shall
   be liable in an amount greater than its respective maximum amount of liability set forth above in Paragraph
   1, nor shall any Surety's liability be increased or affected hereunder in any way whatsoever as a result of the
   performance or non-performance by any other Surety of such other Surety's obligation under this Bond.

   2. Any claim for payment by The Trustees of Columbia University in the City of New York arising under
      this Supersedeas Bond shall be allocated to the percentage of each Surety's limit of liability relative to
      the aggregate amount of this Bond.

   3. In no event shall the total collective obligation of the Sureties hereunder exceed the amount of this Bond,
      or the individual liability of any Surety hereunder exceed their respective maximum amount of liability
      stated in Paragraph 1, regardless of the number of years this bond is in force.

   4. Pursuant to Rule 8(b) of the Federal Rules of Appellate Procedure, the Sureties hereby submit themselves
      to the jurisdiction of the District Court.

Dated this   21       day of October, 2023.

DEFENDANT
Gen Digital Inc.



By:
Sameer Sood
Chief Accounting O icer and Director




                                                  Page 2 of 3
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SURETY                                                      BOND NUMBERS

ZURICH AMERICAN INSURANCE COMPANY
1299 Zurich Way, 5th Floor
Schaumburg, IL 60196-1056


BY:      ~"L~~' ~~~ , J                                     Bond Number: 9442160
Tracy Aston,Attorney-In-Fact


LIBERTY MUTUAL INSURANCE COMPANY
401 Plymouth Road, Suite 450
Plymouth Meeting, PA 19462-1636


By:__________________________________________               Bond Number: 070220737
Tracy Aston, Attorney-In-Fact


NATIONWIDE MUTUAL INSURANCE COMPANY
1100 Locust Street, Dept. 2006
Des Moines, IA 50391-2006


By:_____________________________________________            Bond Number: 7901016581
Tracy Asto Attorney-In-Fact


ATLANTIC SPECIALTY INSURANCE COMPANY
150 Royall Street, Suite 100
Canton, MA 02021


By:                                                         Bond Number: 800132168
Tracy Aston, Attorney-In-Fact


HARCO NATIONAL INSURANCE COMPANY
One Newark Center, 20th Floor
Newark, NJ 07102

            r
                   ___
By:_____________________________                            Bond Number: 0847926
Tracy Aston, Attorney-In-Fact




                                         Page 3 of 3
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  CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT
  A Notary Public or other officer completing this certificate verifies only the identity of the
  individual who signed the document to which this certificate is attached, and not the truthfulness,
  accuracy, or validity of that document.

  State of California

  County of                Los Angeles
               OCT 2 3 2023
  On                      before me,     Vanessa Fong, Notary Public          , personally appeared
          Tracy Aston who proved to me on the basis of satisfactory evidence to be the person(s)
  whose name(s) is/      subscribed to the within instrument and acknowledged to me that
  l/she/th executed the same in his/her/th authorized capacity(), and that by hi/her/th
  signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s)
  acted, executed the instrument.

                                                 I certify under PENALTY OF PERJURY under the laws of
                                                 the State of California that the foregoing paragraph is true
                                                 and correct.
  `/~:      .,         VANESSA FONG
 •/        s`s    Notary Public - California i
                                                 WITNESS my hand and official seal.
         :j.- '=    Los Angeles County
                   Commission A 2398052
         o>'   My Comm. Expires Mar 22, 2026



                                                 Signature
                                                                Signature of Nota   Publ'
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                                             ZURICH AMERICAN INSURANCE COMPANY
                                       COLONIAL AMERICAN CASUALTY AND SURETY COMPANY
                                          FIDELITY AND DEPOSIT COMPANY OF MARYLAND
                                                      POWER OF ATTORNEY

KNOW ALL MEN BY THESE PRESENTS: That the ZURICH AMERICAN INSURANCE COMPANY, a corporation of the State of New
York, the COLONIAL AMERICAN CASUALTY AND SURETY COMPANY, a corporation of the State of Illinois, and the FIDELITY
AND DEPOSIT COMPANY OF MARYLAND a corporation of the State of Illinois (herein collectively called the "Companies"), by Robert
D. Murray, Vice President, in pursuance of authority granted by Article V, Section 8, of the By-Laws of said Companies, which are set forth
on the reverse side hereof and are hereby certified to be in full force and effect on the date hereof, do hereby nominate, constitute, and
appoint Rosa E. RIVAS, Mary Y. VOLMAR, Tracy ASTON, Meghan HANES, Samantha RUSSELL,Vanessa FONG of Los Angeles,
California, its true and lawful agent and Attorney-in-Fact, to make, execute, seal and deliver, for, and on its behalf as surety, and as its act
and deed: any and all bonds and undertakings, and the execution of such bonds or undertakings in pursuance of these presents, shall be as
binding upon said Companies, as fully and amply, to all intents and purposes, as if they had been duly executed and acknowledged by the
regularly elected officers of the ZURICH AMERICAN INSURANCE COMPANY at its office in New York, New York., the regularly
elected officers of the COLONIAL AMERICAN CASUALTY AND SURETY COMPANY at its office in Owings Mills, Maryland., and the
regularly elected officers of the FIDELITY AND DEPOSIT COMPANY OF MARYLAND at its office in Owings Mills, Maryland., in their
own proper persons.

     The said Vice President does hereby certify that the extract set forth on the reverse side hereof is a true copy of Article V, Section 8, of
the By-Laws of said Companies, and is now in force.

   IN WITNESS WHEREOF, the said Vice-President has hereunto subscribed his/her names and affixed the Corporate Seals of the said
ZURICH AMERICAN INSURANCE COMPANY, COLONIAL AMERICAN CASUALTY AND SURETY COMPANY, and
FIDELITY AND DEPOSIT COMPANY OF MARYLAND, this 15th day of August, A.D. 2023.
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                                                                                                                                          '',


                                                                                                `SEAL I                    lSEALlgt                       SEALm a
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                                                                                                                     ,     . ..„  ATTEST:
                                                                                                       ZURICH AMERICAN INSURANCE COMPANY
                                                                                      COLONIAL AMERICAN CASUALTY AND SURETY COMPANY
                                                                                            FIDELITY AND DEPOSIT COMPANY OF MARYLAND



     -
  By: Robert D. Mu
                          Th
                 rray
       Vice President



By: Dawn E. Brown
    Secretary

State of Maryland
County of Baltimore

      On this 15th day of August, A.D. 2023, before the subscriber, a Notary Public of the State of Maryland, duly commissioned and qualified, Robert D.
Murray, Vice President and Dawn E. Brown, Secretary of the Companies, to me personally known to be the individuals and officers described in and who
executed the preceding instrument, and acknowledged the execution of same, and being by me duly sworn, deposeth and saith, that he/she is the said officer of
the Company aforesaid, and that the seals affixed to the preceding instrument are the Corporate Seals of said Companies, and that the said Corporate Seals and
the signature as such officer were duly affixed and subscribed to the said instrument by the authority and direction of the said Corporations.

     IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed my Official Seal the day and year first above written.



                                                                                  Genevieve M. Maison

                                                                                     GENEVIEVE M. MAISON                    E gy        U©L\O t z =
                                                                                             NOTARY PUBLIC                                      O: G
                                                                                        BALTIMORE COUNTY, MD
                                                                                   My Commission Expires JANUARY27, 2025           'o     , "
                                                                                                                                          0




Authenticity of this bond can be confirmed at bondvalidator.zurichna.com or 410-559-8790
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                                            EXTRACT FROM BY-LAWS OF THE COMPANIES

     "Article V, Section 8, Attorneys-in-Fact. The Chief Executive Officer, the President, or any Executive Vice President or Vice President
may, by written instrument under the attested corporate seal, appoint attorneys-in-fact with authority to execute bonds, policies,
recognizances, stipulations, undertakings, or other like instruments on behalf of the Company, and may authorize any officer or any such
attorney-in-tact to affix the corporate seal thereto; and may with or without cause modify of revoke any such appointment or authority at any
time."
                                                                    CERTIFICATE

     1, the undersigned, Vice President of the ZURICH AMERICAN INSURANCE COMPANY, the COLONIAL AMERICAN
CASUALTY AND SURETY COMPANY, and the FIDELITY AND DEPOSIT COMPANY OF MARYLAND, do hereby certify that the
foregoing Power of Attorney is still in full force and effect on the date of this certificate; and I do further certify that Article V, Section 8, of
the By-Laws of the Companies is still in force.

    This Power of Attorney and Certificate may be signed by facsimile under and by authority of the following resolution of the Board of
Directors of the ZURICH AMERICAN INSURANCE COMPANY at a meeting duly called and held on the 15th day of December 1998.


     RESOLVED: "That the signature of the President or a Vice President and the attesting signature of a Secretary or an Assistant Secretary
and the Seal of the Company may be affixed by facsimile on any Power of Attorney... Any such Power or any certificate thereof bearing such
facsimile signature and seal shall be valid and binding on the Company."

     This Power of Attorney and Certificate may be signed by facsimile under and by authority of the following resolution of the Board of
Directors of the COLONIAL AMERICAN CASUALTY AND SURETY COMPANY at a meeting duly called and held on the 5th day of
May, 1994, and the following resolution of the Board of Directors of the FIDELITY AND DEPOSIT COMPANY OF MARYLAND at a
meeting duly called and held on the 10th day of May, 1990.


      RESOLVED: "That the facsimile or mechanically reproduced seal of the company and facsimile or mechanically reproduced signature
of any Vice-President, Secretary, or Assistant Secretary of the Company, whether made heretofore or hereafter, wherever appearing upon a
certified copy of any power of attorney issued by the Company, shall be valid and binding upon the Company with the same force and effect
as though manually affixed.

       IN TESTIMONY WHEREOF, I have hereunto subscribed my name and affixed the corporate seals of the said Companies,
this          day of OCT 2 3 20n, ,


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                                                                                                               Thomas O. McClellan
                                                                                                               Vice President

TO REPORT A CLAIM WITH REGARD TO A SURETY BOND, PLEASE SUBMIT A COMPLETE DESCRIPTION
OF THE CLAIM INCLUDING THE PRINCIPAL ON THE BOND, THE BOND NUMBER, AND YOUR CONTACT
INFORMATION TO:

Zurich Surety Claims
1299 Zurich Way
Schaumburg, IL 60196-1056
1 rtlo islclii,uK(ij/nli ilnrt.ront
800-626-4577




Authenticity of this bond can be confirmed at bondvalidator.zurichna.com or 410-559-8790
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                                      This Power of Attorney limits the acts of those named herein, and they have no authority to
                                                                    bind the Company except in the manner and to the extent herein stated.

                                Liberty                                                Liberty Mutual Insurance Company

                                Mutual®                                              The Ohio Casualty Insurance Company
                                                                                       West American Insurance Company
                                                                                                                                                                     Certificate No:   8210628-024029

                                     SURETY
                                                                                        POWER OF ATTORNEY
           KNOWN ALL PERSONS BY THESE PRESENTS: That The Ohio Casualty Insurance Company is a corporation duly organized under the laws of the State of New Hampshire, that
           Liberty Mutual Insurance Company is a corporation duly organized under the laws of the State of Massachusetts, and West American Insurance Company is a corporation duly organized
           under the laws of the State of Indiana (herein collectively called the "Companies'), pursuant to and by authority herein set forth, does hereby name, constitute and appoint,
           Mary Y. Volmar; Meghan Hanes; Rosa E. Rivas; Samantha Russell; Tracy Aston; Vanessa Fong



           all of the city of          Los Angeles                 state of                  CA                   each individually if there be more than one named, its true and lawful attorney-in-fact to make,
           execute, seal, acknowledge and deliver, for and on its behalf as surety and as its act and deed, any and all undertakings, bonds, recognizances and other surety obligations, in pursuance
           of these presents and shall be as binding upon the Companies as if they have been duly signed by the president and attested by the secretary of the Companies in their own proper
           persons.

           IN WITNESS WHEREOF, this Power of Attorney has been subscribed by an authorized officer or official of the Companies and the corporate seals of the Companies have been affixed
           thereto this 18th day of   August       , 2023 .
                                                                                                                                                Liberty Mutual Insurance Company
                                                          tNSU,q                      ~tv INS&                                                  The Ohio Casualty Insurance Company
                                                      = LORP°R4r~o+                   2 4oRP °Rvr~~y~                                           West American Insurance Company

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                                                                    a           y~~ NS         a\ L                                    B                                                                             =_ U
     I )                                                                                                                                   y:
     Co                                                                                                     O                                   David M. Carey, Assistant Secretary
     to State of PENNSYLVANIA ss
           ICounty of MONTGOMERY
   : I On this 18th day of          August       , 2023 before me personally appeared David M. Carey, who acknowledged himself to be the Assistant Secretary of Liberty Mutual Insurance
  ~o Company, The Ohio Casualty Company, and West American Insurance Company, and that he, as such, being authorized so to do, execute the foregoing instrument for the purposes
       therein contained by signing on behalf of the corporations by himself as a duly authorized officer.
a~ f°
  _0 IN WITNESS WHEREOF, I have hereunto subscribed my name and affixed my notarial seal at Plymouth Meeting, Pennsylvania, on the day and year first above written.                                                     rn
ra                                                                                                                                                                                                                       0
o~                                                                                        Commonwealth of Pennsylvania - Notary Seal                                                                                 T
                                                            !n p              ~ s ,             Teresa Pastella, Notary Public
N     O                                                                                             Montgomery County                                                                                                E E
                                                                     OF                     My commission expires March 28, 2025       By :                         ~2^                                              Ia
                                                                                                                                                                                                                      O O
cI                                                                                              r,            u           044                                                                                            ~
                                                                   NSYl-i'     \c'                                                              Teresa Pastella, Notary Public                                       1< o
a)N                                                           7i                          Member, Pennsylvania
                                                                                                      sylaanAssoocialonn of Notaries
m                                                                  "IRY t 5'
m a)
O)
           This Power of Attorney is made and executed pursuant to and by authority of the following By-laws and Authorizations of The Ohio Casualty Insurance Company, Liberty Mutual
o.C        Insurance Company, and West American Insurance Company which resolutions are now in full force and effect reading as follows:
L    y~           ARTICLE IV — OFFICERS: Section 12. Power of Attorney.
oro
                  Any officer or other official of the Corporation authorized for that purpose in writing by the Chairman or the President, and subject to such limitation as the Chairman or the
                  President may prescribe, shall appoint such attorneys-in-fact, as may be necessary to act in behalf of the Corporation to make, execute, seal, acknowledge and deliver as surety
                  any and all undertakings, bonds, recognizances and other surety obligations. Such attorneys-in-fact, subject to the limitations set forth in their respective powers of attorney, shall
                  have full power to bind the Corporation by their signature and execution of any such instruments and to attach thereto the seal of the Corporation. When so executed, such
                  instruments shall be as binding as if signed by the President and attested to by the Secretary. Any power or authority granted to any representative or attorney-in-fact under the
                  provisions of this article may be revoked at any time by the Board, the Chairman, the President or by the officer or officers granting such power or authority.
                  ARTICLE XIII — Execution of Contracts: Section 5. Surety Bonds and Undertakings.
                  Any officer of the Company authorized for that purpose in writing by the chairman or the president, and subject to such limitations as the chairman or the president may prescribe,
                  shall appoint such attorneys-in-fact, as may be necessary to act in behalf of the Company to make, execute, seal, acknowledge and deliver as surety any and all undertakings,
                  bonds, recognizances and other surety obligations. Such attorneys-in-fact subject to the limitations set forth in their respective powers of attorney, shall have full power to bind the
                  Company by their signature and execution of any such instruments and to attach thereto the seal of the Company. When so executed such instruments shall be as binding as if
                  signed by the president and attested by the secretary.
           Certificate of Designation — The President of the Company, acting pursuant to the Bylaws of the Company, authorizes David M. Carey, Assistant Secretary to appoint such attorneys-in-
           fact as may be necessary to act on behalf of the Company to make, execute, seal, acknowledge and deliver as surety any and all undertakings, bonds, recognizances and other surety
           obligations.
           Authorization — By unanimous consent of the Company's Board of Directors, the Company consents that facsimile or mechanically reproduced signature of any assistant secretary of the
           Company, wherever appearing upon a certified copy of any power of attorney issued by the Company in connection with surety bonds, shall be valid and binding upon the Company with
           the same force and effect as though manually affixed.
           I, Renee C. Llewellyn, the undersigned, Assistant Secretary, The Ohio Casualty Insurance Company, Liberty Mutual Insurance Company, and West American Insurance Company do
           hereby certify that the original power of attorney of which the foregoing is a full, true and correct copy of the Power of Attorney executed by said Companies, is in full force and effect and
           has not been revoked.                                                                                                     ' OCT 2 3 2023
           IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed the seals of said Companies this                                  day of

                                                       ~ 1NSU,O                            INSU
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                                                                                                                                                Renee C. Llewellyn, Assistant Secretary
                                                                               co
           LMS-12873 LMIC OCIC WAIC Multi Co 02/21
            Case 3:13-cv-00808-MHL Document 1353-1 Filed 10/30/23 Page 9 of 11 PageID# 63387
                                                                             Power of Attorney



KNOW ALL MEN BY THESE PRESENTS THAT:

Nationwide Mutual Insurance Company, an Ohio corporation

hereinafter referred to severally as the "Company" and collectively as "the Companies" does hereby make, constitute and appoint:
                      MARY Y VOLMAR; MEGHAN HANES; ROSA E RIVAS; SAMANTHA RUSSELL; TRACY ASTON; VANESSA FONG;




each in their individual capacity, its true and lawful attorney-in-fact, with full power and authority to sign, seal, and execute on its behalf any and all bonds and
undertakings, and other obligatory instruments of similar nature, in penalties not exceeding the sum of

                                                                         UNLIMITED
and to bind the Company thereby, as fully and to the same extent as if such instruments were signed by the duly authorized officers of the Company; and all acts
of said Attorney pursuant to the authority given are hereby ratified and confirmed.

This power of attorney is made and executed pursuant to and by authority of the following resolution duly adopted by the board of directors of the Company:

      "RESOLVED, that the president, or any vice president be, and each hereby is, authorized and empowered to appoint attorneys-in-fact of the Company,
     and to authorize them to execute and deliver on behalf of the Company any and all bonds, forms, applications, memorandums, undertakings,
     recognizances, transfers, contracts of indemnity, policies, contracts guaranteeing the fidelity of persons holding positions of public or private trust, and other
     writings obligatory in nature that the business of the Company may require; and to modify or revoke, with or without cause, any such appointment or
     authority; provided, however, that the authority granted hereby shall in no way limit the authority of other duly authorized agents to sign and countersign any
     of said documents on behalf of the Company."

     "RESOLVED FURTHER, that such attorneys-in-fact shall have full power and authority to execute and deliver any and all such documents and to bind the
     Company subject to the terms and limitations of the power of attorney issued to them, and to affix the seal of the Company thereto; provided, however, that
     said seal shall not be necessary for the validity of any such documents."

This power of attorney is signed and sealed under and by the following bylaws duly adopted by the board of directors of the Company.

     Execution of Instruments. Any vice president, any assistant secretary or any assistant treasurer shall have the power and authority to sign or attest all
     approved documents, instruments, contracts, or other papers in connection with the operation of the business of the company in addition to the chairman of
     the board, the chief executive officer, president, treasurer or secretary; provided, however, the signature of any of them may be printed, engraved, or
     stamped on any approved document, contract, instrument, or other papers of the Company.

IN WITNESS WHEREOF, the Company has caused this instrument to be sealed and duly attested by the signature of its officer the 20th day of August, 2021,




                                                                  Antonio C. Albanese, Vice President of Nationwide Mutual Insurance Company

                                                                                                                   ACKNOWLEDGMENT
                          ~ntu+suQ ~                              STATE OF NEW YORK COUNTY OF NEW YORK: ss
                        ',•       ' .• oy ♦                       On this 20th day of August, 2021, before me came the above-named officer for the Company
                  (~             T        '                       aforesaid, to me personally known to be the officer described in and who executed the preceding
                  0  *..SEAL' *                                   instrument, and he acknowledged the execution of the same, and being by me duly
                                                                  sworn, deposes and says, that he is the officer of the Company aforesaid, that the seal affixed
                         ~o~6Uso®~                                hereto is the corporate seal of said Company, and the said corporate seal and his signature were
                      ®® ®®                                       duly affixed and subscribed to said instrument by the authority and direction of said Company.


                                                                              Stephanie Ru       McArthur      I
                                                                            Notary Public, State of New York
                                                                                  No.02MC6270117
                                                                            Qualified in New York County                                   Notary Public
                                                                                                               J
                                                                         Commission Expires October 19 2024                            My Commission moires
                                                                                                                                          October 19, 2024
                                                                           CERTIFICATE
I, Laura B. Guy, Assistant Secretary of the Company, do hereby certify that the foregoing is a full, true and correct copy of the original power of attorney issued
by the Company; that the resolution included therein is a true and correct transcript from the minutes of the meetings of the boards of directors and the same has
not been revoked or amended in any manner; that said Antonio C. Albanese was on the date of the execution of the foregoing power of attorney the duly elected
officer of the Company, and the corporate seal and his signature as officer were duly affixed and subscribed to the said instrument by the authority of said board
of directors; and the foregoing power of attorney is still in full force and effect.

IN WITNESS WHEREOF, I have hereunto subscribed my name as Assistant Secretary, and affixed the corporate seal of said Company this                            day of




                                                                                                                            Assistant Secretary
BDJ 1(08-21)00
        Case 3:13-cv-00808-MHL Document 1353-1 Filed 10/30/23 Page 10 of 11 PageID# 63388


      intact j                                                        Power of Attorney

KNOW ALL MEN BY THESE PRESENTS, that ATLANTIC SPECIALTY INSURANCE COMPANY, a New York corporation with its principal office in Plymouth,
Minnesota, does hereby constitute and appoint: Tracy Aston, Rosa E. Rivas, Samantha Russell, Meghan Hanes, Mary Y. Volmar, each individually if there be more
than one named, its true and lawful Attorney-in-Fact, to make, execute, seal and deliver, for and on its behalf as surety, any and all bonds, recognizances, contracts of indemnity,
and all other writings obligatory in the nature thereof; provided that no bond or undertaking executed under this authority shall exceed in amount the sum of: unlimited and the
execution of such bonds, recognizances, contracts of indemnity, and all other writings obligatory in the nature thereof in pursuance of these presents, shall be as binding upon
said Company as if they had been fully signed by an authorized officer of the Company and sealed with the Company seal. This Power of Attorney is made and executed by
authority of the following resolutions adopted by the Board of Directors of ATLANTIC SPECIALTY INSURANCE COMPANY on the twenty-fifth day of September, 2012:


             Resolved: That the President, any Senior Vice President or Vice-President (each an "Authorized Officer") may execute for and in behalf of the Company any and
             all bonds, recognizances, contracts of indemnity, and all other writings obligatory in the nature thereof, and affix the seal of the Company thereto; and that the
             Authorized Officer may appoint and authorize an Attorney-in-Fact to execute on behalf of the Company any and all such instruments and to affix the Company
             seal thereto; and that the Authorized Officer may at any time remove any such Attorney-in-Fact and revoke all power and authority given to any such Attorney-in-
             Fact.

             Resolved: That the Attorney-in-Fact may be given full power and authority to execute for and in the name and on behalf of the Company any and all bonds,
             recognizances, contracts of indemnity, and all other writings obligatory in the nature thereof, and any such instrument executed by any such Attorney-in-Fact shall
             be as binding upon the Company as if signed and sealed by an Authorized Officer and, further, the Attorney-in-Fact is hereby authorized to verify any affidavit
             required to be attached to bonds, recognizances, contracts of indemnity, and all other writings obligatory in the nature thereof.


This power of attorney is signed and sealed by facsimile under the authority of the following Resolution adopted by the Board of Directors of ATLANTIC SPECIALTY
INSURANCE COMPANY on the twenty-fifth day of September, 2012:
              Resolved: That the signature of an Authorized Officer, the signature of the Secretary or the Assistant Secretary, and the Company seal may be affixed by
              facsimile to any power of attorney or to any certificate relating thereto appointing an Attorney-in-Fact for purposes only of executing and sealing any bond,
              undertaking, recognizance or other written obligation in the nature thereof, and any such signature and seal where so used, being hereby adopted by the Company
              as the original signature of such officer and the original seal of the Company, to be valid and binding upon the Company with the same force and effect as though
              manually affixed.

IN WITNESS WHEREOF, ATLANTIC SPECIALTY INSURANCE COMPANY has caused these presents to be signed by an Authorized Officer and the seal of the Company
to be affixed this first day of January, 2023.


                                                                                cORPRgrFv.~
                                                                          fr      SEAL        m=
                                                                           Y.      1986       0                    By
STATE OF MINNESOTA                                                         `b 4Fw von' tb '                                Sarah A. Kolar, Vice President and General Counsel
HENNEPIN COUNTY




                                               ,=Q
On this first day of January, 2023, before me personally came Sarah A. Kolar, Vice President and General Counsel of ATLANTIC SPECIALTY INSURANCE COMPANY, to
me personally known to be the individual and officer described in and who executed the preceding instrument, and she acknowledged the execution of the same, and being by me
duly sworn, that she is the said officer of the Company aforesaid, and that the seal affixed to the preceding instrument is the seal of said Company and that the said seal and the
signature as such officer was duly affixed and subscribed to the said instrument by the authority and at the direction of the Company.




                                                                ,ALISON           NASH.TROUT
                                                                                 C • MINNESOTA
                                                                                 sion Expires
                                                                                  31, 2025                                 Notary Public

1, the undersigned, Secretary of ATLANTIC SPECIALTY INSURANCE COMPANY, a New York Corporation, do hereby certify that the foregoing power of attorney is in full
force and has not been revoked, and the resolutions set forth above are now in force.
Signed and sealed. Dated                 day of 9f T    6f 3 9023


                                                                          ;a    cpFPOFigT~, . n,
                                                                                 SEAL         m=

    This Power of Attorney expires
           Januar 31, 2025
                                                                                                                           Kara L.B. Barrow, Secretary




                                                         Please direct bond verifications to sitrety@intactinsurance.com
        Case 3:13-cv-00808-MHL Document 1353-1 Filed 10/30/23 Page 11 of 11 PageID# 63389
                                                        POWER OF ATTORNEY                                                 Bond#

                                             HARCO NATIONAL INSURANCE COMPANY
                                          INTERNATIONAL FIDELITY INSURANCE COMPANY
                Member companies of IAT Insurance Group, Headquartered: 4200 Six Forks Rd, Suite 1400, Raleigh, NC 27609




KNOW ALL MEN BY THESE PRESENTS: That HARCO NATIONAL INSURANCE COMPANY, a corporation organized and existing under the laws of
the State of Illinois, and INTERNATIONAL FIDELITY INSURANCE COMPANY, a corporation organized and existing under the laws of the State of New
Jersey, and having their principal offices located respectively in the cities of Rolling Meadows, Illinois and Newark, New Jersey, do hereby constitute and
appoint
  SAMANTHA RUSSELL, MEGHAN HANES, VANESSA FONG, MARY Y. VOLMAR, TRACY ASTON, ROSA E.
  RIVAS
  Los Angeles, CA
their true and lawful attorney(s)-in-fact to execute, seal and deliver for and on its behalf as surety, any and all bonds and undertakings, contracts of
indemnity and other writings obligatory in the nature thereof, which are or may be allowed, required or permitted by law, statute, rule, regulation, contract
or otherwise, and the execution of such instrument(s) in pursuance of these presents, shall be as binding upon the said HARCO NATIONAL
INSURANCE COMPANY and INTERNATIONAL FIDELITY INSURANCE COMPANY, as fully and amply, to all intents and purposes, as if the same had
been duly executed and acknowledged by their regularly elected officers at their principal offices.
This Power of Attorney is executed, and may be revoked, pursuant to and by authority of the By-Laws of HARCO NATIONAL INSURANCE COMPANY
and INTERNATIONAL FIDELITY INSURANCE COMPANY and is granted under and by authority of the following resolution adopted by the Board of
Directors of INTERNATIONAL FIDELITY INSURANCE COMPANY at a meeting duly held on the 13th day of December, 2018                       and by the Board of
Directors of HARCO NATIONAL INSURANCE COMPANY at a meeting held on the 13th day of December, 2018.
"RESOLVED, that (1) the Chief Executive Officer, President, Executive Vice President, Senior Vice President, Vice President, or Secretary of the
Corporation shall have the power to appoint, and to revoke the appointments of, Attorneys-in-Fact or agents with power and authority as defined or limited
in their respective powers of attorney, and to execute on behalf of the Corporation and affix the Corporation's seal thereto, bonds, undertakings,
recognizances, contracts of indemnity and other written obligations in the nature thereof or related thereto; and (2) any such Officers of the Corporation
may appoint and revoke the appointments of joint-control custodians, agents for acceptance of process, and Attorneys-in-fact with authority to execute
waivers and consents on behalf of the Corporation; and (3) the signature of any such Officer of the Corporation and the Corporation's seal may be affixed
by facsimile to any power of attorney or certification given for the execution of any bond, undertaking, recognizance, contract of indemnity or other written
obligation in the nature thereof or related thereto, such signature and seals when so used whether heretofore or hereafter, being hereby adopted by the
Corporation as the original signature of such officer and the original seal of the Corporation, to be valid and binding upon the Corporation with the same
force and effect as though manually affixed."


                                           IN WITNESS WHEREOF, HARCO NATIONAL INSURANCE COMPANY and INTERNATIONAL
                                           FIDELITY INSURANCE COMPANY have each executed and attested these presents
                                           on this 31st day of December, 2022
                                                                                                                                               P~1NSUq'.,
                ~~ttY 1
          4\O                           STATE OF NEW JERSEY                                                   STATE OF ILLINOIS                  9 0$ gr~.~'(~'.
                                        County of Essex                                                       County of Cook
        o       ~' SEAL             m                                                                                                      i SEAL           "=
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            , ' ► JE0.5~a3►
            J                                                                Kenneth Chapman
                                                   Executive Vice President, Harco National Insurance Company
                                                   and International Fidelity Insurance Company


On this 31st day of December, 2022            , before me came the individual who executed the preceding instrument, to me personally known, and,
being by me duly sworn, said he is the therein described and authorized officer of HARCO NATIONAL INSURANCE COMPANY and
INTERNATIONAL FIDELITY INSURANCE COMPANY; that the seals affixed to said instrument are the Corporate Seals of said Companies; that the
said Corporate Seals and his signature were duly affixed by order of the Boards of Directors of said Companies.

             ~ Ny CR~,,                        IN TESTIMONY WHEREOF, I have hereunto set my hand affixed my Official Seal, at the City of Newark,
            P                                   New Jersey the day and year first above written.
        c' G.~ssioH•. ""':
          r'oè            ~fo'•,
           U      NOTARY
    =    :,- ►      •~       m:



                   NEW '        `°                                                           Cathy Cruz     a Notary Public of New Jersey
                      `                                                                              My Commission Expires April 16, 2024
                                                                    CERTIFICATION

I, the undersigned officer of HARCO NATIONAL INSURANCE COMPANY and INTERNATIONAL FIDELITY INSURANCE COMPANY do hereby certify
that I have compared the foregoing copy of the Power of Attorney and affidavit, and the copy of the Sections of the By-Laws of said Companies as set
forth in said Power of Attorney, with the originals on file in the home office of said companies, and that the same are correct transcripts thereof, and of the
whole of the said originals, and that the said Power of Attorney has not been revoked and is now in full force and effect.

IN TESTIMONY WHEREOF, I have hereunto set my hand on this day,              OCT 23        2023




 A00494
                                                                                                           Irene Martins, Assistant Secretary
